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                                          UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF NEW HAMPSHIRE


     United States of America

                            V.                                                          Case No.           1:22-MJ-0184
      Isaiah Wade


                                              STIPULATION TO DETENTION AND
                                              WAIVER OF DETENTION HEARING

                 I hereby waive my right to a detention hearing as provided in:

                                        18 U.S.C. 3142{f), pending trial**
                                        18 U.S.C. 3148(a), revocation of release/pending trial**
                                        Fed.R.Crim.P. 46(c) and 18 U.S.C. 3143, pending sentence
                                        Fed.R.Crim.P. 32.1 (a)(1) and Fed .R.Crim.P. 46(c), pending revocation
                                        of probation/supervised release hearing
di
     without prejudice, and stipulate to detention.


     Date: 8/15/2022
                                                                                         /s/ Isaiah Wade
                                                                                        Defendant

     Date: 8/15/2022
                                                                                         /s/ Paul J. Garrity
                                                                                        Counsel for Defendant

                 STIPULATION APPROVED.


     Date:
                                                                                        United States Magistrate Judge
                                                                                        United States District Judge
     cc:         US Attorney
                 US Marshal
                 US Probation
                 Defendant's Counsel

     **The defendant is committed to the custody of the Attorney General or her designated representative for confinement in a corrections facility separate, to
     the extent practicable , from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a reasonable
     opportunity for private consultation with defense counsel. On order of a court for the United States or on request of an attorney for the Government, the
     person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance in connection with a
     court proceeding .



     USDCNH-31 (5-99)
